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1
                        UNITED STATES DISTRICT COURT

2                     SOUTHERN DISTRICT OF CALIFORNIA
3
      UNITED STATES OF AMERICA        )           CASE NO. 20CR3236-JAH-01
4                                     )
                   Plaintiff,         )
5                                                 CERTIFICATE OF SERVICE
                                      )
             v.
6                                     )
                                      )
7                                     )
      JOSHUA TORGISON,
8
                                      )
                                      )
9                                     )
                  Defendant.
                                      )
10
      _______________________________ )
11

12    IT IS HEREBY CERTIFIED THAT:
13          I, L. MARCEL STEWART, am a citizen of the United States and am at
14    least eighteen years of age. My business address is 600 B Street, Suite 2050,
15    San Diego, California 92101.
16
            I am not a party to the above-entitled action. I have caused service of
17
      the foregoing, Defendant Joshua Torgison’s Motions to Compel Discovery,
18
      Preserve Evidence, and Grant Leave to File Further Motions, on the parties of
19
      the case by electronically filing the foregoing with the Clerk of the District
20
      Court using its ECF System, which electronically notifies them.
21
            I declare under penalty of perjury that the foregoing is true and correct.
22

23
      Executed on December 8, 2020
24

25                                                  /s/ L. Marcel Stewart
26                                                  L. MARCEL STEWART
27

28




                                                                    20CR2992-CAB
